Case 2:04-Cv-02976-.]PI\/|-tmp Document 24 Filed 07/05/05 fF’<'Ju`:jc`z_l_"l of 2 Page|D 32

IN TI'IE UNITED STATES DISTRICT COU'RT m BY `,.. D.O.
FOR THE WESTERN DISTRICT OF TENNESSEE

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DA.RRYL wILL:l:AMs, ' U.S. UM
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Plaintiff,

v. No. 04»2976 Ml/P
THE CITY OF MEMPHIS,
OFFICER VBNCE STACKS;
IBM #2855 and OTHER JOHN
DOE OFFICERS

`-¢V`ivv`-F\-iv*_{*_lvv

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the Court is the Motion of Defendant City of Memphis to
Dismiss Amended Complaint, filed April 25, 2005. Under Local Rule
7.2(a)(2) and Fed. R. Civ. P. 6, a response to the motion was due on
or before May 31, 2005. To date, Plaintiff has not filed a
response. Accordingly, Plaintiff is hereby ORDERED to SHOW CAUSE
within ten (lO) days of the date Of entry of this Order why
Defendant's motion should not be granted.l

Failure to respond to this Order to Show Cause in a timely

manner may result in the Court granting Defendant’s Motion to

Dismiss.

IT IS SO ORDERED this dz?day Of July, ?3:
€/W '»

JO P. MCCALLA
1 TED STATES DISTRICT JUDGE

 

 

 

1 To comply with this Order, Plaintiff must file a written response
to the Motion to Dismiss.

Thls document entered on the docket she tin coénpliance g$z
with Ru1e 56 and/or 79(a} FRCP on 2 § 'Q

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
ease 2:04-CV-02976 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

